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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
DARIO CABALLERO-ARREDONDO,

                  Defendant.

       This matter is before the Court on the defendant's pro se motion (filing
527) for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2), U.S.S.G. §
1B1.10, and U.S.S.G. § app. C, amend. 782. The defendant's motion will be
denied because his sentencing date (May 5, 2015) was after Amendment 782
became fully effective (November 1, 2014). Thus, having already received the
benefit of the two-level reduction contemplated by Amendment 782, he is
entitled to no further decrease.

      IT IS ORDERED:

      1.    The defendant's pro se motion for a sentence reduction
            (filing 527) is denied.

      Dated this 28th day of September, 2016.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
